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10 BERTRAM SIEGEL, CAROLE SIEGEL,
   DAVID SIEGEL, TWO SIGMA INVESTMENTS, LP
11

12                         UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14

15 MARCUS SILVER (pro se) and                    Case No. 2:19-cv-05838
16 posthumously on behalf of FRANCINE
   SILVER,
17                                               DEFENDANTS’ NOTICE OF
18
                           Plaintiff,            REMOVAL
19             v.
                                                 [Declarations of AnnaMarie A. Van
20 BERTRAM SIEGEL, CAROLE SIEGEL,                Hoesen, Esq. and Matthew B. Siano, Esq.
   DAVID SIEGEL, TWO SIGMA                       and State Court Record filed concurrently
21                                               herewith]
   INVESTMENTS, LP,
22
                           Defendants.           Jury Trial Demanded
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 1                                        NOTICE OF REMOVAL
 2             TO PLAINTIFF AND THE CLERK OF THE ABOVE-ENTITLED COURT:
 3             PLEASE TAKE NOTICE that Defendants Bertram Siegel, Carole Siegel, David
 4   Siegel, and Two Sigma Investments, LP (“Two Sigma”) 1 (collectively “Defendants”), by
 5   their undersigned counsel, hereby give notice of the removal of this action, pursuant to
 6   28 U.S.C. §§ 1332, 1441, and 1446, to the United States District Court for the Central
 7   District of California (“Notice of Removal”). This Court has subject matter jurisdiction
 8   over this action based on diversity of citizenship. 28 U.S.C. § 1332(a)(1). As grounds for
 9   removal, Defendants state as follows:
10   I.        BACKGROUND
11             1.   On May 22, 2019, Plaintiff Marcus Silver (“Plaintiff”) filed a Complaint
12   alleging various forms of negligence, infliction of emotional distress, and fraud against
13   Defendants in the Superior Court of the State of California, County of Los Angeles,
14   captioned Marcus Silver v. Bertram Siegel, et al., Case No. 19STCV17949 (the “State
15   Court Action”). Plaintiff, proceeding pro se, purports to sue on behalf of himself and
16   posthumously on behalf of decedent Francine Silver, as the alleged executor of her estate.
17             2.   Attached hereto as Exhibit A is a copy of the Complaint filed in the State
18   Court Action. Attached hereto as Exhibit B is a copy of the docket from the State Court
19   Action.
20             3.   Defendants deny any liability whatsoever under any theory and in any
21   amount. Solely for purposes of this Notice of Removal, Defendants rely on Plaintiff’s
22   allegations, as set forth in the Complaint, as well as the attached declarations, to satisfy
23   the requirements of removal under 28 U.S.C. §§ 1332, 1441, and 1446.
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    Two Sigma was erroneously sued as “Two Sigma Investments LLP.” That error has
28 been corrected in the caption page for this Notice of Removal.
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 1   II.       REMOVAL IS TIMELY UNDER 28 U.S.C. § 1446(b)
 2             4.   Pursuant to 28 U.S.C. § 1446(b), a notice of removal “shall be filed within 30
 3   days after the receipt by the defendant” of a validly served summons or complaint. See
 4   Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (formal service is
 5   required to start the removal clock).
 6             5.   On May 22, 2019, Plaintiff caused to be mailed to all Defendants (i) a copy
 7   of the Complaint and (ii) a proof of service of summons form. See Declaration of
 8   AnnaMarie A. Van Hoesen (“Van Hoesen Decl.”), ¶ 3. Plaintiff did not include, however,
 9   any summonses with these mailings. Id. Accordingly, Plaintiff failed to effectuate proper
10   service. See Ruttenberg v. Ruttenberg, 62 Cal. Rptr. 2d 78, 82 (1997) (“A party cannot be
11   properly joined unless served with the summons and complaint.”).
12             6.   On May 30, 2019, Plaintiff caused to be mailed to all Defendants (i) a copy
13   of the Complaint; (ii) summonses dated May 30, 2019; (iii) proof of service of summons
14   forms; and (iv) acknowledgment of service forms. Van Hoesen Decl., ¶ 4.
15             7.   For purposes of this Notice of Removal, Defendants assume the May 30,
16   2019 mailings constituted valid service of the summons. Pursuant to Section 415.40 of
17   the California Code of Civil Procedure, service on each Defendant would be deemed
18   complete on the 10th day after such mailing, on June 9, 2019. Cal. Civ. Proc. Code §
19   415.40 (service of a summons by mail “is deemed complete on the 10th day after such
20   mailing”).
21             8.   This Notice of Removal is filed within 30 days, as computed under Rule 6(a)
22   of the Federal Rules of Civil Procedure, of June 9, 2019. See SteppeChange LLC v.
23   VEON Ltd., 354 F. Supp. 3d 1033, 1041 (N.D. Cal. 2018) (notice of removal filed within
24   30 days after service was complete in accordance with Cal. Civ. Proc. Code § 415.40 was
25   timely under 28 U.S.C. § 1446(b)).
26             9.   Thus, this Notice of Removal is timely under 28 U.S.C. § 1446(b).
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 1   III.      THIS COURT HAS JURISDICTION UNDER 28 U.S.C. § 1332(a)
 2             10.   This Court has subject matter jurisdiction over all cases where the amount in
 3   controversy exceeds $75,000 and is between “citizens of different States.” 28 U.S.C. §
 4   1332(a).
 5             A.    The Amount in Controversy Exceeds $75,000
 6             11.   In the Complaint, Plaintiff seeks “to recover $10,000,000.00 in damages for
 7   the torts of Negligence, Gross Negligence, Negligent Infliction of Serious Emotional
 8   Distress, Intentional Infliction of Serious Emotional Distress, Fraud by Omission, Fraud
 9   by Misrepresentation and Conspiracy to Defraud.” Ex. A at 2. It is clear from the face of
10   the Complaint that the amount in controversy exceeds $75,000. 2 See 28 U.S.C. §
11   1446(c)(2) (“[T]he sum demanded in good faith in the initial pleading shall be deemed to
12   be the amount in controversy.”). Accordingly, the amount in controversy requirement for
13   diversity jurisdiction is satisfied under 28 U.S.C. § 1332(a).
14             B.    There Is Complete Diversity of Citizenship
15             12.   Plaintiff Marcus Silver is a citizen of California. Marcus Silver is domiciled
16   in California and lists a California address for himself in the Complaint. Ex. A at Caption
17   Page.
18             13.   Plaintiff Marcus Silver purports to sue posthumously on behalf of Francine
19   Silver, who was also a citizen of California. Plaintiff alleges that decedent Francine
20   Silver was domiciled in California at the time of her death. Ex. A at 3, 8, 17-19
21   (describing Francine Silver’s California activities and Defendants’ visits to California to
22   see Francine Silver); Ex. A at Attachment 1 (showing a California address for Francine);
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    In alleging the amount in controversy for purposes of removal, Defendants do not
26 concede in any way that the allegations in the Complaint are accurate, that Plaintiff is
   entitled to any amount alleged in the Complaint, that Plaintiff has asserted claims upon
27 which relief can be granted, or that recovery of any of the amounts sought is authorized or

28 appropriate.
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 1   Ex. A at Attachment 2, 1 (noting that Defendant David Siegel would soon be visiting
 2   Francine Silver in California).
 3             14.   Defendants Bertram Siegel and Carole Siegel are citizens of New York.
 4   Bertram Siegel and Carole Siegel reside in Mamaroneck, New York, and are domiciled in
 5   New York. See Ex. A at Caption Page.
 6             15.   Defendant David Siegel is a citizen of New York. David Siegel resides in
 7   Scarsdale, New York, and is domiciled in New York. See Ex. A at Caption Page.
 8             16.   Defendant Two Sigma is not a citizen of California. Two Sigma is a limited
 9   partnership organized under the laws of Delaware and has its principal place of business
10   in New York. See Ex. A at Caption Page; see also Declaration of Matthew B. Siano, Esq.
11   (“Siano Decl.”), ¶ 5. For the purpose of diversity jurisdiction, Two Sigma has the
12   citizenship of each of its partners. See Americold Realty Tr. v. Conagra Foods, Inc., 136
13   S. Ct. 1012, 1015 (2016). Two Sigma has eight limited partners, who are citizens of
14   Florida, New Jersey, and New York. Siano Decl., ¶¶ 5-6. Two Sigma has one general
15   partner, which is not a citizen of California. Id. at ¶ 7. Because none of Two Sigma’s
16   partners are citizens of California, Two Sigma is not a citizen of California. See id. at ¶¶
17   5-7.
18             17.   In sum, Plaintiff Marcus Silver is a citizen of California, and he purports to
19   sue posthumously on behalf of decedent Francine Silver, who was also a citizen of
20   California. Defendants Bertram Siegel, Carole Siegel, and David Siegel are citizens of
21   New York, and Defendant Two Sigma is not a citizen of California. Accordingly, all
22   plaintiffs are “citizens of different States” from all defendants, and there is complete
23   diversity of citizenship under 28 U.S.C. § 1332(a).
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 1   IV.       DEFENDANTS SATISFY THE PROCEDURAL REQUIREMENTS FOR
 2             REMOVAL PURSUANT TO 28 U.S.C. § 1446(a)
 3             A.       Venue is Proper
 4             18.      This action is properly removed to this Court because the Superior Court of
 5   California, County of Los Angeles, is located within the Central District of California.
 6   See 28 U.S.C. §§ 84(c), 1446(a).
 7             B.       The State Court File is Attached Hereto
 8             19.      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,
 9   pleadings, orders, and documents served upon Defendants in the State Court Action are
10   attached hereto as follows:
11                   • Exhibit A: Complaint;
12                   • Exhibit B: Docket;
13                   • Exhibit C: Civil Case Cover Sheet;
14                   • Exhibit D: Notice of Case Assignment – Unlimited Civil Case;
15                   • Exhibit E: Order to Show Cause for Failure to File Proof of Service;
16                   • Exhibit F: Notice of Case Management Conference;
17                   • Exhibit G: Notices and Acknowledgements of Receipt (combined); and
18                   • Exhibit H: Proofs of Service by Mail (combined).
19             To Defendants’ knowledge, no other documents or pleadings were filed in the State
20   Court Action.
21             C.       Written Notice of Removal
22             20.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
23   served upon Plaintiff, who is proceeding pro se. A copy of this Notice of Removal also is
24   being filed with the Clerk of the Superior Court of California, County of Los Angeles.
25             D.       Consent of All Defendants
26             21.      Pursuant to 28 U.S.C. § 1446(b)(2)(A), “When a civil action is removed
27   solely under section 1441(a), all defendants who have been properly joined and served
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 1   must join in or consent to the removal of the action.” All Defendants join in and consent
 2   to this removal. Van Hoesen Decl., ¶ 5.
 3   V.        CONCLUSION
 4             22.   Defendants reserve the right to amend or supplement this Notice of Removal.
 5             23.   If any question arises as to the propriety of the removal of this action,
 6   Defendants request the opportunity to present a brief and request oral argument in support
 7   of removal.
 8             WHEREFORE, Defendants respectfully remove this action from the Superior Court
 9   of California, County of Los Angeles to this Court.
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11    Dated: July 8, 2019                                      JENNER & BLOCK LLP
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13                                                        By: /s/ David R. Singer
14
                                                              David R. Singer
                                                              AnnaMarie A. Van Hoesen
15                                                            Camila A. Connolly
16
                                                               Attorneys for Defendants
17                                                             BERTRAM SIEGEL, CAROLE
18                                                             SIEGEL, DAVID SIEGEL, TWO
                                                               SIGMA INVESTMENTS, LP.
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